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                   9                           UNITED STATES DISTRICT COURT
                  10                      CENTRAL DISTRICT OF CALIFORNIA
                  11                                EASTERN DIVISION
                  12 CARTER BRYANT, an individual,           CASE NO. CV 04-9049 SGL (RNBx)
                  13              Plaintiff,                 Consolidated with
                                                             Case No. CV 04-09059
                  14        vs.                              Case No. CV 05-02727
                  15 MATTEL, INC., a Delaware                Hon. Stephen G. Larson
                     corporation,
                  16                                         [PUBLIC REDACTED] DECLARATION
                                  Defendant.                 OF CYRUS S. NAIM IN SUPPORT OF
                  17                                         SUPPLEMENT TO MATTEL, INC.’S EX
                                                             PARTE APPLICATION TO COMPEL
                  18 AND CONSOLIDATED ACTIONS                THE APPEARANCE FOR DEPOSITION
                                                             OF ANA CABRERA, BEATRIZ
                  19                                         MORALES, AND MARIA SALAZAR,
                                                             REGARDING THE DEPOSITION OF
                  20                                         MEL WOODS
                  21                                         Date: February 4, 2008
                                                             Time: 10:00 a.m.
                  22                                         Place: Courtroom 1
                  23                                         Phase 1:
                                                             Discovery Cut-off:    January 28, 2008
                  24                                         Pre-trial Conference: April 21, 2008
                                                             Trial Date:           May 27, 2008
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                   1                       DECLARATION OF CYRUS S. NAIM
                   2              I, Cyrus S. Naim, declare as follows:
                   3              1.     I am a member of the bar of the State of California and an
                   4 associate at Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel,
                   5 Inc. (“Mattel”). I make this declaration of personal, firsthand knowledge and, if
                   6 called and sworn as a witness, I could and would testify competently thereto.
                   7              2.     Attached as Exhibit 1 is a true and correct copy of excerpts of the
                   8 Amended Answer And Affirmative Defenses Of MGA Entertainment Inc., MGA
                   9 Entertainment (HK) Limited And MGAE de Mexico S.R.L. de C.V. To Mattel,
                  10 Inc.'s Second Amended Answer And Counterclaims.
                  11              3.     Attached as Exhibit 2 is a true and correct copy of excerpts of
                  12 Mattel, Inc.'s Second Amended Answer In Case No. 05-2727 And Counterclaims
                  13 (Public Redacted Version), dated July 12, 2007.
                  14              4.     Attached as Exhibit 3 is a true and correct copy of a subpoena to
                  15 Mel Woods, dated January 15, 2008, and served on Mr. Woods' counsel.
                  16              5.     Attached as Exhibit 4 is a true and correct copy of the Court's
                  17 Scheduling Order dated February 22, 2007.
                  18              6.     Attached as Exhibit 5 is a true and correct copy of excerpts of the
                  19 deposition transcript of Carter Bryant, dated November 5, 2004.
                  20              7.     Attached as Exhibit 6 is a true and correct copy of excerpts of the
                  21 deposition transcript of Lisa Tonnu, dated September 24, 2007.
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                                                   NAIM DEC ISO MATTEL'S SUPPLEMENT TO EX PARTE APPLICATION
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                   1              8.     Attached as Exhibit 7 is a true and correct copy of excerpts of
                   2 MGA's Supplemental Responses to Mattel's Revised Third Set of Interrogatories,
                   3 dated November 30, 2007.
                   4              I declare under penalty of perjury under the laws of the United States of
                   5 America that the foregoing is true and correct.
                   6              Executed this 30th day of January, 2008, at Los Angeles, California.
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                   8                                            /s/ Cyrus S. Naim
                                                                Cyrus S. Naim
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                       KIDMAN DECLARATION ISO MATTEL INC.'S MOTION TO ENFORCE COURT'S AUGUST 20, 2007 ORDER
